      Case 22-52950-pmb         Doc 25      Filed 05/26/22 Entered 05/26/22 08:15:43             Desc Blank
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                                   UNITED STATES BANKRUPTCY COURT

                                            Northern District of Georgia




In     Debtor(s)
Re:    Atlanta Light Bulbs, Inc.                           Case No.: 22−52950−pmb
       2109 Mountain Industrial Blvd                       Chapter: 11
       Tucker, GA 30084                                    Judge: Paul Baisier




                                        Notice of First Meeting of Creditors


Notice is hereby given that the Telephonic 341 Meeting of Creditors will be held on June 23, 2022 at 01:00pm.
To attend the telephonic meeting, Dial: 8889029750 and enter: 9635734, when prompted for participation code.

This is an involuntary bankruptcy case. No schedules have been filed at this time.




                                                           M. Regina Thomas
                                                           Clerk of Court,
                                                           U.S. Bankruptcy Court

Dated: May 26, 2022

Form 300
